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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA
: CONSENT PRELIMINARY ORDER
-V.- OF FORFEITURE/
: MONEY JUDGMENT
WILLIAM WEINER,
S5 22 Cr. 019 (PGG)
Defendant.
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WHEREAS, on or about January 16, 2024, WILLIAM WEINER (the “Defendant”)
was charged in a Superseding Information, S5 22 Cr. 19 (PGG) (the “Information”), with one
count of conspiracy to commit healthcare fraud and to defraud the United States, in violation of
Title 18, United States Code, Section 371 (Count One);

WHEREAS, the Information included a forfeiture allegation as to the healthcare
fraud object of the conspiracy charged in Count One of the Information, seeking forfeiture to the
United States, of any and all property, including but not limited to a sum of money in United States
currency representing the amount of property that constitutes and is derived, directly or indirectly,
from gross proceeds traceable to the Federal health care offense alleged in Count One of the
Information that the Defendant personally obtained;

WHEREAS, on or about January 16, 2024, the Defendant pled guilty to Count One
of the Information, pursuant to a plea agreement with the Government, wherein the Defendant
admitted the forfeiture allegation with respect to Count One of the Information and agreed to forfeit
to the United States, pursuant to Title 18, United States Code, Section 982(a)(7): a sum of money
equal to $430,000 in United States currency, representing the amount of property that constitutes
and is derived, directly or indirectly, from gross proceeds traceable to the Federal health care

offense alleged in Count One of the Information the Defendant personally obtained;
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WHEREAS, the Defendant consents to the entry of a money judgment in the
amount of $430,000 in United States currency, representing the amount of proceeds traceable to
the offense charged in Count One of the Information that the Defendant personally obtained; and

WHEREAS, the Defendant admits that, as a result of acts and/or omissions of the
Defendant, the proceeds traceable to the offense charged in Count One of the Information that the
Defendant personally obtained cannot be located upon the exercise of due diligence.

IT IS HEREBY STIPULATED AND AGREED, by and between the United States
of America, by its attorney Damian Williams, United States Attorney, Assistant United States
Attorneys Mathew S. Andrews, Qais Ghafary, and Michael D. Lockard, of counsel, and the
Defendant, and his counsel, Kelly Kramer, Esq., that:

1. As aresult of the offense charged in Michael D. Lockard, and, to which the
Defendant pled guilty, a money judgment in the amount of $430,000 in United States currency
(the “Money Judgment”), representing the amount of property that constitutes and is derived,
directly or indirectly, from gross proceeds traceable to the Federal health care offense alleged in
Count One of the Information that the Defendant personally obtained, shall be entered against the
Defendant.

2. Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this
Consent Preliminary Order of Forfeiture/Money Judgment is final as to the Defendant WILLIAM
WEINER, and shall be deemed part of the sentence of the Defendant, and shall be included in the
judgment of conviction therewith.

3. All payments on the outstanding money judgment shall be made by postal
money order, bank or certified check, made payable, in this instance, to the United States Marshals

Service, and delivered by mail to the United States Attorney’s Office, Southern District of New
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York, Attn: Money Laundering and Transnational Criminal Enterprises Unit, One St. Andrew’s
Plaza, New York, New York 10007 and shall indicate the Defendant’s name and case number.

4. The United States Marshals Service is authorized to deposit the payments
on the Money Judgment into the Assets Forfeiture Fund, and the United States shall have clear
title to such forfeited property.

5. Pursuant to Title 21, United States Code, Section 853(p), the United States
is authorized to seek forfeiture of substitute assets of the Defendant up to the uncollected amount
of the Money Judgment.

6. Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, the
United States Attorney’s Office is authorized to conduct any discovery needed to identify, locate
or dispose of forfeitable property, including depositions, interrogatories, requests for production
of documents and the issuance of subpoenas.

7. The Court shall retain jurisdiction to enforce this Consent Preliminary Order
of Forfeiture/Money Judgment, and to amend it as necessary, pursuant to Rule 32.2 of the Federal

Rules of Criminal Procedure.

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8. The signature page of this Consent Preliminary Order of Forfeiture/Money
Judgment may be executed in one or more counterparts, each of which will be deemed an original
but all of which together will constitute one and the same instrument.
AGREED AND CONSENTED TO:
DAMIAN WILLIAMS

United States Attorney for the
Southern District of New York

By: ge
Mathew S. Andrews / Qais Ghafary / DATE
Michael D. Lockard
Assistant United States Attorneys
One St. Andrew’s Plaza
New York, NY 10007
(212) 637-6526 / -2534 / -2193
WILLIAM WEINER
By: MDA ~~} NO [ RU
Ww {TAM WEINER DATE
By: Lk x 5. — 6[e4
Kelly Krame Esq.. DATE
Attorney for Ba
SO ORDERED:
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HONORABLE PAUL G. GARDEPHE ATE °

UNITED STATES DISTRICT JUDGE
